

People v Quintero (2022 NY Slip Op 01181)





People v Quintero


2022 NY Slip Op 01181


Decided on February 23, 2022


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 23, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

COLLEEN D. DUFFY, J.P.
ANGELA G. IANNACCI
JOSEPH J. MALTESE
LARA J. GENOVESI, JJ.


2018-12511
 (Ind. No. 9306/17)

[*1]The People of the State of New York, respondent,
vRaymond Quintero, appellant.


Patricia Pazner, New York, NY (Lynn W. L. Fahey of counsel), for appellant. 
Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove and Keith Dolan of counsel; Marielle Burnett on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Sharen D. Hudson, J.), imposed August 20, 2018, upon his plea of guilty, on the ground that the period of postrelease supervision imposed as part of the sentence was excessive.
ORDERED that the sentence is affirmed.
The period of postrelease supervision imposed as part of the sentence was not excessive (see People v Suitte , 90 AD2d 80).
DUFFY, J.P., IANNACCI, MALTESE and GENOVESI, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








